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     NORTH CAROLINA                       IN THE GENERAL COURT OF JUSTICE .
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     RICHMOND COUNTY                              File No. ri C vS Iowa
                              RICHMOND CO. C.S.C.
     CYNTHIA ROYSTER, I4ividually,)

             Plaintiff;                            )
                                                   )
             vs.                                   )                   COMPLAINT
                                                   )
     BAXTER HEALTHCARE                             )
     CORPORATION,                                  )
                                                   )
         •   Defendant.                            )
                                                   )

        COMES NOW, Plaintiff, Cynthia Royster, individually (hereinafter referred to as
"Plaintiff"), by and through her attorneys, hereby complains and alleges against Defendant,
Baxter Healthcare Corporation, a Delaware corporation, (hereinafter "Defendant"), as follows:

                                           TilE PARTIES
     1. Cynthia Royster is, and was at all times relevant hereto, a resident and citizen of

 .       Richmond County, North Carolina.

     2. Upon information and belief, Defendant is, and was at all times relevant hereto, a

         corporation incorporated in the State of Delaware, with its principal place of business in

         the State of Illinois, and authorized to do business in the State of North Carolina and was

         doing business at all fillies relevant hereto in Richmond County, North Carolina. •

     3. The true names and capacities, whether individual, corporate, associate, or otherwise, of

     •   Defendant, including without limitation, any 'employer, franchisor, or owner d/b/a "

         thereof, not currently known and therefore not yet named herein, are unknown to

         Plaintiff, who therefore sues said Defendants by such fictitious names. Plaintiff is

         informed and believes, and therefore alleges, that Defendants are responsible in some

         manner for the events and occurrences referred to in this Complaint, and/or owes money




         Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 1 of 20
         to Plaintiff Plaintiff will ask leave of the Court
                                                       c••
                                                            to amend this Complaint and insert the

         true names and capacities of Defendants when the same have been ascertained and to join

         said Defendants in this action.

      4. The underlying acts giving rise to the subject matter of this Complaint occurred in

  .      Richmond County, North Carolina and caused injury to person and property in the State

 •.      of North Carolina.

                                  JURISDICTION AND VENUE

      5.. Plaintiff incorporates the preceding paragraphs of this Complaint as though said

         paragraphs were fully set forth at this point herein.

      6. Venue is proper in this district because Plaintiff is a resident of Richmond County as

         required by N.C. Gen. Stat. § 1-82.

      7.. This action is asserted against Defendant who has engaged in substantial activity within

         this State with regards to this matter and purposely availed themselves of the laws and

         protections of the State of North Carolina and the subject =tier of this Complaint arises

         out of acts or omissions within this State by Defendant and thus jurisdiction is properly

        ' before this court pursuant to N.C. Gen. Stat..§§ 1-75.4(1)(d) and 1-75.4(3).


                                   GENERAL ALLEGATIONS

• - 8. Plaintiff incorporates the preceding paragraphs of this Complaint as though said.

         paragraphs were.fully set forth at this point herein.

• 9. Plaintiff suffers from end stage renal disease and undergoes peritoneal dialysis treatment

         as prescribed by her nephrologiat.

 • 10. At the time of the injuries complained of, Plaintiff treated at the Dialysis Care of Moore

         County, a facility operated by DaVita




        Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 2 of 20
. 11. Prior to November 25, 2014, Plaintiff had no adverse skin reactions to any dialysate used
                r.      •     •    • • .•      .
      to treat her end stage renal disease.

 12.On or about November 25, 2014,-Plaintiff's dialysate changed to Extraneal, abrand name

       of ieodextrin peritoneal dialysis solution owned and manufactured by Defendant

 13.Plaintiff had not changed any other medication within the last two months.

 14.Plaintiff treated with Extraneal manufactured by Defendant until December 9,2014.

 15.On or about December 6, 2014, Plaintiff began experiencing pain, a rash, and skin

       peeling under both breasts.

 16.On or about December 7, 2014, Plaintiff noticed a rash and pain in her perineal

 17.On or about December 8, 2014, Plaintiff's rash and pain spread to her abdomen

 18.On or about December 9, 2014 Plaintiff presented to her primary care provider With a

       rash under her breasts:

 19.Plaintiffs primary care provider determined Plaintiff needed to be evaluated at the •

     • emergency room. .

 20. Plaintiff was admitted to Moore Regional Hospital in Pinehurst, NC on December 9,

       2014.

 21. A biopsy of Plaintiff's skin at Moore Regional.Hospital indicated an erythrodemic drug

       eruption to her dialysate Extraneal.   .

 22. As a result of the drug eruption caused by Extraneal, Plaintiff underwent multiple • •

       surgeries and both legs were amputated.

 23. Upon information and belief, Defendant designed, manufactured, marketed, sold, and

 •     distributed Extraneal. •




      Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 3 of 20
•
    24. Upon information and belief, Defendant failed to maintain sterile conditions during the
                             • •.                                                    .   •        .•
        manufacture, packaging; distribution, and/or sale Of the Extraneal used by'Plainiiff.

    25. Upon information and,belief, Defendant failed to properly clean or 'maintiain A sterile

        environment for the production, packaging, and/or distribution of the Extraneal used by

    • • Plitintiff.

    26. Upon information or belie Defendant failed to properly warn healthcare providers, •

        prospective patients, and/or current patients of the danger associated with the Extraneal

        used by Plaintiff.

    27. At all times relevant hereto, Plaintiff acted in a prudent and reasonable manner and in no

        way contributed to her injury.

    28. As a direct and proximate result of Defendant's acts and/or omission, Plaintiff suffered an

        extreme reaction to Defendant's product.

    29. As a direct and proximate result of the negligence of Defendant, Plaintiff suffered         -

        serious, substantial,. and permanent injury to her person including, but not limited to,.

        amputation to both legs above the knee.

    30. Solely as a result of the aforementioned injuries, Plaintiff has been forced to incur

        substantial medical expenses, and has suffered mental anguish, pain, suffering, loss of

     ' well-being, loss of enjoSrment of life, and other serious and permanent injury.

                                    FIRST CAUSE OF ACTION'
                                          (Negligence)

    31. Plaintiff repeats and realleges the allegations contained in the preceding paragraphs of

        this complaint as though said paragraphs were fully set forth herein.

    32. At all times relevant to this.action, Defendants had a duty to exercise reasonable care, and

        to comply with the existing standards of care, in their preparation, design, research,.




       Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 4 of 20
       development, manufacture, inspection, labeling, marketing, promotion and sale

       Extraneal; which Defendants introduced into the stream of commerce, including a•diriy to

       ensure that users would not suffer from unreasonable, dangerous or untoward adverse

       side effects.

   33. At all times relevant to this action, Defendants had a duty to warn all health care

       providers and consumers of the risks, dangers, and adverse side•effects of Extraneal.

   34. At all: times relevant to this action Defendant had a duty to maintain their manufacturing

       facilities In a clean and hygienic manner and failed to do so.

   35: At all times relevant to this action, Defendants knew or reasonably. should have known

      that the Extraneal relevant to this action was unreasonably dangerous and defective when

       used as manufactured.

   36. Plaintiff did not contribute in any way to her injuries and has taken all reasonable steps to

      mitigate their damages.       •

   37. Plaintiff's injuries are a direct and proximate result of Defendant's acts and/Or omissions,

      by and through its employees.

   38. Plaintiff is entitled.to general, special, incidental and consequential damages as Plaintiff .

      incurred medical, hospital, and future medical treatment as a result of Defendant's acts,

      by and through its employees.

   39. Plaintiff is further entitled to general,-special, incidental and consequential damages as

   • Plaintiff suffers from mental anguish, pain, suffering, loss of well-being, loss of

      enjoyment of life, lost wages, and other serious andpermanent injuries as a result of •

      Defendant's acts, by and through its employees.

WHEREFORE, Plaintiff prays for judgment against the above-named Defendant as follows:




      Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 5 of 20
   1. For damages in an amount in such sum as shall be determined .o-fully and fairly
      compensate Plaintiff for all general, special, incidental, and, consequential damages .
      incurred or to be incurred, as the direct and proXimate result of the acts of the Defendant,
      in an amount in 'excess of TWENTY-FIVE THOUSAND DOLLARS ($25,000.00);                        '
   2. For interest at the statutory rate;
   3. Demands a trial by jury; aiid
For such other and further relief as the Court deems just and proper.

                                             DATED this   a    day of November, 2017.




                                             Joe Bowden
                                             N.C. State Bar No.: 6523
                                             Attorney f Plaintiff •
                                                                 •



                                             Sean.F. Miles
                                             N.C. State Bar No.: 50878
                                         •   Attorney for Plaintiff      .

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      Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 6 of 20
   NORTH CAROLINA                                      IN THE GENERAL COURT OF JUSTICE •
                                                           SUPERIOR COURT DIVISION
   RICHMOND COUNTY                                             File No. 1?C.111 10 4j2.


   CYNTHIA ROYSTER, Individually,

          • Plaintiff;

            vs.                                             PLAINTIFF'S FIRST SET OF
                                                        INTERROGATORIES AND REQUESTS
  BAXTER HEALTHCARE                                      FOR PRODUCTION TO DEFENDANT
  CORPORATION,   .

            Defendant.


       . The Plaintiff hereby serves upon you the following written interrogatories under the

provisions of Rules 26 and 33 of the Rules of Civil Procedure. You are required to answer these

interrogatories separately and fully in writing, under oath, and to serve a copy of your answers on the

undersigned within the time provided under the Rules of Civil Procedure. These interrogatories shall

be deemed to be continuing in nature until the date of trial so as to require supplemental response's as

additional information is obtained between the time answers are served .and the time of trial as

required by Rule 26 of the Rules of Civil Procedure.

                                          DEFINITIONS


     • The following definitions apply to each of the Interrogatories and Requests for
Production of Documents set forth herein and are deemed to be incorporated in each
interrogatory and request.

      1. The terms "you" or "your" or "Defendant" shall mean the party to whom these
discovery requests are directed as well as any and all persons or entities acting on that parties
behalf including, without limitation, agents, representatives, attorneys, experts, investigators or
other persons who have gathered information concerning the subject matter of this litigation at
your request.




      Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 7 of 20
      2.     The term "Plaintiff" shall refer to Plaintiff and any person acting on its behalf
 including, without limitation, agents, employees, representatives, insurers, or counsel. .

     3. The terms "person" or "persons" shall mean and include any natural person,
corporation, governmental entity, and every other form of legal entity or division thereof.

      4. The term "the Accident" shall refer to the alleged accident referred to in the pleadings
in this action.

      5. The terms "document" or "documents" shall be used in their broadest sense to refer to
any and all printed, typed or recorded matter subject to discovery under Rule 33 of the North
Carolina Rules of Civil Procedure, whether 'maintained in paper or electronic form, including all
drafts, non-identical copies, and any attachments or appendices thereto. Without limiting the
foregoing, the terms "document" or "documents" shall include all letters, agreements,
memoranda, notes, reports, correspondence, films,, books, facsimile transmissions, summaries,
diagrams, ledgers, photographs, sketches, invoices, receipts, audio recordings, electronic
correspondence, computer files or records, Contracts, affidavits,.written statements of witnesses
or other persons having knowledge of facts relevant to this action, memorials of personal
conversations or interviews, telephone logs, summaries, drafts, notes and other written or printed
materials responsive to the specific question.

      6. The term "identify", when used with respect to a document, means to state (1) the
date of the document or the•date it was created or received; (2) the author or originator of the •
document; (3) the type of document L e., whether it is a letter, memOrandum, report, etc.; (4) the
substance of the document; (5) the recipient or addressee of the document, where applicable; (6)
the current location and custodian of each copy of the document; and (7) any and all other
information necessary to adequately and completely identify the document for purposes of a
Request for Production of Documents or Subpoena Duces Tecum.

       7. The term "identify", when used with respect to a person, means to state the person's
full name and present or last known address or residence, the person's current employer and
business address, and the person's home, business, and cellular telephone numbers. Tithe person •
is a corporation or other entity, "identify' means to state its full name, the nature of its
organization, the state under which it was organized, and the address of its principal place of
business. If any of the above information is not available to you, state any other available means-
of identifying such person.

  . 8. The term ."identify", when used with respect' to a communication, means the party
shall state (1) the person making or generating the communication; (2) all person(s) to whom the
communication was made or directed; (3) the medium of the communication; e.g. telephone
conference, letter, electronic communication, etc.; (4) the date(s) of such communication; and (5) .
the subject matter of such communication

      9. The term "describe" means to provide fully and with as much detail and specificity as
possible the information requested, state any facts or opinions related to such knowledge or
information, identify other parties known to you to also possess such knowledge or information,
and list any documents evidencing, reflecting or pertaining to the information provided.




      Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 8 of 20
                                         INSTRUCTIONS
     ' 1.        Set forth your answer to each interrogatory separately and fully. Where you
 believe that a complete answer to a particular interrogatory or request or part thereof is not
 possible, answer to the extent possible and provide an explanation for your inability to answer
 further.

         2.     For each interrogatory, identify all documents to which you referred or relied,
 upon to answer that interrogatory. Wherever the identification of documents is called for in these
 interrogatories, you may, in lieu of such identification, attach a complete and legible copy of said
 document to the interrogatory responses and indicate the specific interrogatory question to which
 the attached document is intended to be responsive.

        3.      Where you are requested to produce documents or things in response to these
 discovery requests, you are to produce all documents or things known to you and in your
 possession, custody, or control, including those documents or things in the possession of your
 attorneys, agents, employees, or anyone acting on your behalf.

          4.      In answering these Interrogatories or Requests, furnish such information as is
. available to you, not merely such information as is of your own knowledge. This means you are to
  furnish information which is known by, available to or in possession of your.employees, '
  representatives, servants or agents, including your attorney (unless privileged) or any agent or
  investigator for You or your attorney (unless privileged).

        5.      If you are aware of any document, item, or thing responsive to these discovery
requests which once existed but is no longer available, state the reason such document is no
longer available and identify any persons having information regarding the document or item's
prior existence or its disposition or loss. For any document or item which has been destroyed,
identify the date it was destroyed, the person who destroyed it, the reason it was destroyed, and
the facts and circumstances under which it was destroyed. .

       6.       Each of these interrogatories or Requests is deemed to be a continuing Interrogatory
or Request, so as to require•you to file supplementary answers if you obtain further or different
information between the time your answers are served and the time of trial.

        7.      If you assert a privilege with regard to any interrogatory or request for production
•of documents, please submit a privilege log to identify any documents alleged to be privileged, •
 and a description of the document and privilege relied upon.



                                     INTERROGATORIES




      Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 9 of 20
    1. Identify all person(s) who provided information responsive to the questions posed in these

        discovery requests, including name, address, and telephone number and job title.

        RESPONSE: •




    2. Please identify all sales representatives, working for you who called on physicians or

       hospitals in North Carolina during the past six years, and their supervisors, and their

       supervisors, on up to the top of the sales or marketing departinents. (By sales representatives

       working for you, the interrogatory seeks the identify not only ofiales representatives or

       "detail" people who were Defendant employees, but also those who Defendant may have

       hired to sell or detail a icodextrin peritoneal dialysis solution manufactured by Defendant).

       RESPONSE:




    3. Please identify those persons working for you from 2000 to present who were authorized to

      'act as liaison, or to reach agreements with physicians, surgeons, or hospitals concerning the

       development, research, or marketing of any icodextrin peritoneal dialysis solution

       manufactured by Defendant.

.      RESPONSE:-




         Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 10 of 20
4. Please identify those persons working for you from 2000 to present who were authorized to

    arrange for exhibits concerning any icodextrin peritoneal dialysis solution manufactured by

    Defendant to be scheduled and set up at meetings of healthcare providers, hospital

    administrators, or other professional organizations.

    RESPONSE:




5. Did you ever design or modify the design or engineering of a icodextrin peritoneal dialysis

    solution manufactured by Defendant? If yes, please identify the date(s) of the design or

   modification, the person(s) responsible for the design or modification, and a description of •

   any modifications.

   RESPONSE:




6. Did you ever own or license a patent on icodextrin peritoneal dialysis solution manufactured

   by Defendant? If so, please provide the patent number.

   RESPONSE:




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 11 of 20
7. Did you ever own or license a trademark on a icodextrin peritoneal dialysis solution brand

    name? If so, please provide the trademark.

    RESPONSE:




8. List the addresses of your document depositories or any other place where you maintain or

    have maintained records concerning the manufacturing, distribution, sales, promotion,

    marketing, and/or any clinical data pertaining to icodextrin peritoneal dialysis solutions

    manufactured by Defendant for the period of time when you first manufactured icodextrin

   peritoneal dialysis solutions up through and including the present. If the records have been •

    moved at all during this time, state the reason for the move, and if a clear chain of custody

   cannot be established, give an explanation.

   RESPONSE:




9. Identify the names and state the present and/or last known address of your agents or

   employees with the most knowledge pertaining to icodextrin peritoneal dialysis solutions

   and/or the manufacture of icodextrin peritoneal dialysis solutions, who worked for you

   during the times you 'manufactured, produced, promoted, formulated, created, designed, sold

   and/or tested icodextrin peritoneal dialysis solutions, including but not limited to:

              (a) Your Product Managers.




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 12 of 20
               (b) The safety and compliance individuals in charge of reporting adverse

                   reactions and complaints of side effects to the FDA or any other agency, and

                   investigating all adverse reactions and complaints of side effects.

               (c) Your liaisons to the FDA, whether or not part of the regulatory affairs

                   department.

               (d) Your researchers and developers responsible for the design, proper function,

                  and proper manufacture of your icodextrin peritoneal dialysis solutions.

               (e) Your in-house scientific researcher(s) who ever had any responsibility for the •

                  safety or effectiveness of your icodextrin peritoneal dialysis solutions.

               (f) Your chief medical officer.

              (g) Your chief information operating .("CIO") officer.

              (h) Your chief regulatory affairs person.

              (i) The employees responsible for creating and updating the 'directions for use

                  and/or manufacture of icodextrin peritonqal.dialysis solutions.

   RESPONSE:




10. Please identify the person or person(s) who participated in any manner in the development of

   Defendant's icodextrin peritoneal dialysis solutions product complaint or adverse event

   reporting system. For each person identified, please provide the person's name, address,

   telephone number, job title, job responsibilities, dates ofemployment, and if they are no

   longer employed, the date and reason for termination.




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 13 of 20
    RESPONSE:




11; Please identify the date the icodeXtrin peritoneal dialysis solutions product complaint or

    adverse event reporting system was created and describe in detail the reason Defendant

    developed the system.

    RESPONSE:




12. Please identify each icodextrin peritoneal dialysis solutions product complaint or adverse

   event report that Defendant received including the date received and the providers who

   submitted the Complaint.

   RESPONSE:




13.Please describe in detail Defemdamt's internal adverse event reporting system including but

   not limited to the person(s) who developed the adverse.event reporting system, the person(s)

   responsible for overseeing the adverse reporting system, the person(s) that are responsible for

   submitting adverse events to the FDA, and the procedure(s) Defendant follows when it

   receives an adverse event report whether from a doctor or patient.




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 14 of 20
    RESPONSE:




14. For each icodextrin peritoneal dialysis solution complaint or adverse event report identified

    in response to Interrogatory No. 13, please describe in detail all steps or actions Defendant

   took in response including, but not limited to, the identity of the person(s) responsible for

    responding to the complaint/report, all communications with the surgeon who submitted the

    complaint/report, and how the complaint/report was resolved.

   RESPONSE:




15.Request for Production was. served upon your counsel.. Please identify all documents

   requested in the Requestior•Production which have been destroyed, disposed of or are no

   longer available, and set forth the present location of the originals or copies thereof.

   RESPONSE:




16.Please identify all persons known to Defendant who have personal knowledge of material

   facts in this matter. For each person identified, please Provide a brief description of their

   knowledge and provide their last known address and telephone number.




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 15 of 20
    RESPONSE:




17. Please state whether Defendant has had any communications with the Plaintiff. If so, please

    provide the date of the communication, who participated in the communication, and a

    description of the communication.

    RESPONSE:           •




li. Please state whether Defendant (including its actual and/or apparent agents, servants, and/or

    employees) has had any communications with the Plaintiffs physician or healthcare •

   providers. If so, please provide the date of the communication, who participated in the

   communication, and a description of the communication.

   RESPONSE:




19. Please provide a detailed description of the instructions Defendant and/or its sales

   representatives pravide to treating physicians with respect to use of Defendant's icodextrin-

   peritoneal dialysis solutions including but not limited to the person(s) who developed the

   instructions, any and, all revisions to the instructions including the date of the revisions, and




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 16 of 20
.       how the instructions are communicated to physicians.

        RESPONSE:




    20. Please state whether Defendant has ever had communications with the FDA regarding the

        manufacture of icodextrin peritoneal dialysis solutions. If so, please provide the name,

        address, and phone number of each person Who participated in the communication, the date

        of the communication, and.a.description of the communication.

        RESPONSE:'




    21. State the nature and extent of all liability insurance coverage of every kind available directly

       or indirectly to you to pay any judgment awarded in this action, and inolude the name or

       names of each insurance company and the applicable limits of liability insurance in effect for

       each entity and/or occurrence.

                   (a) If there was more than one policy of insurance applicable in this instance,

                       identify each insurance company as indicated above and state which liability •

                       insurance company is the primary insurance carrier and identify any and all

                       self-insurance, secondary, reserve and /or umbrella liability insurance carriers,

                       if any.    .

                  (b) Attach a copy of the coverage/declaration sheet from each such liability




         Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 17 of 20
                   insurance company setting forth all the available limits of coverage applicable

                   to this occurrence.

    RESPONSE:




                                REQUESTS FOR PRODUCTION

1. You are requested to provide copies of any and all documents referred to, relied upon, or

    identified by you in responding to the preceding Interrogatories.

    RESPONSE:




2. Any documents which afforded liability insurance coverage for the incident which is the'

    subject matter of the Plaintiffs Complaint.

    RESPONSE:




3. Each and every written, printed, or graphic representation, catalogue, statement, circular,

   manual, brochure, report, advertisement, or other document which was propounded by or on

   behalf of the defendant and which mentions, describes or otherwise refers to the virtues,

   qualities, characteristics, capabilities, or capacities of the product.

   RESPONSE:




4. All written reports of each person whom you expect to call as an expert witness at trial.




     Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 18 of 20
        RESPONSE:




.   5. All documents reviewed by or relied upon by any expert witness you intend to call at trial.

        RESPONSE:




    6. The most recent resume or curriculum vitae of each expert whom you expect to call as an

       expert witness at trial.

       RESPONSE:




       All invoices generated by expert witnesses generated for performing all expert witness

       services to the defendant, including but not limited to, the fees, for the medical examination,

       the records review, the pretrial preparation, any telephone conference, any trial testimony

       anticipated and any other fee paid by the defendants for expert fees.

       RESPONSE:




    8. Any document received pursuant to a subpoena request.

       RESPONSE:




         Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 19 of 20
9. Any documents prepared. during the regular course of business as a result of the incident

   complained of in the Plaintiff's Complaint.

   RESPONSE:




10.Copies of any treaties, standards in the industry, legal authority, rule, case, statute, or code,

   that will be relied upon in the defense of this case.

   RESPONSE:



            17
   This the t.      day of November, 2017.



                                              Sean F. Miles
                                              N.C. State Bar No.: 50878
                                              Attorney for Plaintiff


   OF COUNSEL:             •
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    Case 1:18-cv-00504-WO-LPA Document 5 Filed 06/15/18 Page 20 of 20
